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 14   Attorneys for Plaintiffs

 15
 16                           UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
 17
      M.A.R., a minor, by and through his           Case No.: 2:21-cv-02957-FWS-MAR
 18   Guardian ad litem, ELISABETH
      BARRAGAN, individually, and as a              Judge: Hon. Fred W. Slaughter
 19   successor in interest to DANIEL
      RIVERA; SILVIA IMELDA RIVERA,                 NOTICE OF LODGING
 20   individually,                                 PRETRIAL CONFERENCE
                                                    ORDER
 21                         Plaintiffs,
             v.                                     PTC Date: March 7, 2024
 22                                                 Time: 8:30 a.m.
      OFFICER BRET BECKSTROM;                       Courtroom: 10D
 23   OFFICER TYLER MOSER; OFFICER
      MICHAEL LOPEZ; OFFICER ANGEL                  Trial Date: April 16, 2024
 24   ROMERO,                                       Time: 8:30 a.m.
                                                    Courtroom: 10D
 25                         Defendants.
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 27
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                                                1
                        NOTICE OF LODGING PRETRIAL CONFERENCE ORDER
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  1   TO THE HONORABLE COURT AND TO ALL PARTIES HEREIN:
  2         PLEASE TAKE NOTICE THAT the Parties hereby lodge the following
  3   [Proposed] Pretrial Conference Order.
  4
  5   Respectfully submitted,
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  7
  8
      Dated: February 15, 2024          Respectfully submitted,
  9
                                        JONES MAYER
 10
                                        By: /s/ Jeremy B. Warren
 11                                       James R. Touchstone
                                          Denise L. Rocawich
 12                                       Jeremy B. Warren
                                          Attorneys for Defendants Officer Brett
 13                                       Beckstrom; Officer Tyler Moser; Officer
                                          Michael Lopez; Officer Angel Romero
 14
      Dated: February 15, 2024          LAW OFFICES OF DALE K. GALIPO
 15
 16                                     By: /s/ Dale K. Galipo
                                          Dale K. Galipo, Esq.
 17                                       Cooper Alison-Mayne, Esq.
                                          Attorneys for Plaintiffs, M.A.R.
 18                                        SILVIA IMELDA RIVERA
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                     NOTICE OF LODGING PRETRIAL CONFERENCE ORDER
